[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION ON DEFENDANT'S MOTION TO STRIKE
The defendants have moved to strike the amended complaint pursuant to § 152 of the Practice Book.
One of their contentions is that there is no language which specifically addresses "piercing the corporate veil".
While no such language is utilized, it is clear from, a reading of the complaint what the plaintiffs seek and it is clear that they are seeking to hold the two individual defendants responsible on three separate theories.
In view of these allegations, the Court concludes that the complaint is legally sufficient and the motion to strike is denied.
Anthony V. DeMayo State Trial Referee CT Page 9714